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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

                                  NORTHERN DIVISION



FRIENDS OF THE CLEARWATER, et al.,           Case No: 2:20-cv-243-BLW

               Plaintiffs,
                                             BRIEF IN SUPPORT OF
vs.                                          PLAINTIFFS’ MOTION FOR SUMMARY
                                             JUDGMENT
JEANNE HIGGINS, et al.
                                             [DKT 61 ]
               Defendants, and,

STIMSON LUMBER COMPANY,

               Defendant-Intervenor.
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                                       I. INTRODUCTION

       This is a civil action for judicial review under the Administrative Procedure Act and

Endangered Species Act of the U.S. Forest Service’s (Forest Service) October 3, 2019 Decision

Notice approving the Brebner Flat (Project) on the Idaho Panhandle National Forest (Forest).

Plaintiffs Friends of the Clearwater and Alliance for the Wild Rockies (Plaintiffs) attest that the

final decision approving the Project is arbitrary and capricious, an abuse of discretion, and/or

otherwise not in accordance with law. Defendants’ actions or omissions regarding the Project

violate the Endangered Species Act (ESA), 16 U.S.C. §§ 1531 et seq., the National

Environmental Policy Act (NEPA), 42 U.S.C. §§ 4331 et seq., the National Forest Management

Act, 16 U.S.C. §§ 1600 et seq, the Wild and Scenic River Act, 16 U.S.C. §1278 (a), 36 C.F.R.

§297.6, and the Administrative Procedure Act (APA), 5 U.S.C. §§ 701 et seq. Plaintiffs request

that the Court either vacate the Project decision pursuant to 5 U.S.C. § 706(2)(A) and/or 16

U.S.C. § 1540, or enjoin implementation of the Project until the Forest Service has complied

with the law. See, e.g., Alliance for the Wild Rockies v. USFS, 907 F.3d 1105, 1121-22 (9th Cir.

2018)(presumption of vacatur applies in National Forest logging case).

                                        II. JURISDICTION

       This action arises under the laws of the United States and involves the United States as a

Defendant. Therefore, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1346. Further, Plaintiffs have standing to bring this case because the interests of Plaintiffs and

their members will be directly affected by the Project. See Lujan v. Defs. of Wildlife, 504 U.S.

555, 563 (1992); Declaration of Jeff Juel, Dkt 7-2 ¶¶ 1-12 (June 1, 2020).

                           III. STATEMENT OF MATERIAL FACTS

       Pursuant to Local Rule 7.1 (b)(1) and this Court’s May 14, 2021 Order (Dkt 60),


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Plaintiffs are concurrently filing a separate 15-page statement of material facts.

                                IV. SUMMARY OF ARGUMENT

        In this case, as set forth in detail below, the Forest Service violated the ESA by failing to

prepare a Biological Assessment for the grizzly bear for the challenged logging project. Each

year brings additional verified reports of grizzly bears traveling through and even denning in the

St. Joe Ranger District, within easy traveling distance of the Brebner Flat Project area, in an

attempt to recolonize the Bitterroot Ecosystem. The growing number of verified reports of

grizzly bears in the St. Joe indicates that grizzly bears “may be present” in the Brebner Flat

Project area at some point during the multiple years and seasons of Project implementation. The

“may be present” threshold does not require permanent occupancy or known presence; it only

requires the possibility that a species may travel through an area at some point during an agency

action. Grizzly bears meet this low threshold. To the extent there is any doubt regarding this

inquiry, the law requires that the benefit of the doubt must weigh in favor of protecting the

species. Accordingly, the Forest Service’s refusal to prepare a Biological Assessment for grizzly

bears for the Project violates the ESA.

        Regarding lynx, the Forest Service initially refused to prepare a Biological Assessment

for lynx for the Project despite the fact that lynx are listed by the U.S. Fish & Wildlife Service on

the “official species list” for the Project area. It was not until after this Court issued an order

finding that Plaintiffs were likely to succeed on the merits of this claim that the Forest Service

prepared a Biological Assessment for lynx. By preparing a Biological Assessment for lynx for

the Project, the Forest Service has now provided Plaintiffs with the relief they sought for their

lynx claim. Therefore, Plaintiffs agree that their lynx claim (Claim Two) may be dismissed as

moot.


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        Regarding elk, the Project Environmental Assessment (EA) does not include a discussion

of the cumulative effects of the Project and past activities on the dramatically declining elk

population in the area, even though this information was available to the agency and of

significant interest to the public. The Project EA also fails to provide a discussion of the efficacy

of the proposed mitigation measure for elk security. Regardless of whether the Forest Service is

proposing a sign or a gate as its mitigation measure for elk security, both measures have

alarmingly high failure rates, but the high failure rates were not disclosed or discussed in any

meaningful way in the Project EA. Both of these failures regarding elk violate NEPA.

Additionally, because the proposed mitigation measure is not effective, the Project will reduce

elk security. Thus, the Project violates the Forest Plan and therefore violates NFMA.

       Regarding the St. Joe Wild and Scenic River, the Project EA falsely represents that there

is no portion of the St. Joe Wild and Scenic River Corridor within the Project area. This false

representation in the Project EA and the subsequent omission from the EA of any Section 7(a)

evaluation under the Wild and Scenic Rivers Act violates the regulations implemented under that

Act, and constitutes a failure to take a hard look under NEPA.

                                 V. STANDARDS OF REVIEW

       Two of Plaintiffs’ claims were brought under the ESA. 16 U.S.C. §1540(g). The

Supreme Court holds that the value of an endangered species is “incalculable” and thus the

preservation of endangered species takes “priority over the ‘primary missions’ of federal

agencies.” Tennessee Valley Authority v. Hill, 437 U.S. 153, 187 (1978). Accordingly,

reviewing courts must “afford[] endangered species the highest of priorities,” and act with

“institutionalized caution” when reviewing ESA cases. Cottonwood Envtl. Law Ctr. v. U.S.

Forest Serv., 789 F.3d 1075, 1091 (9th Cir. 2015), rehearing en banc denied (Dec. 17, 2015),


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cert. denied (Oct. 11, 2016). In other words, courts must “give the benefit of the doubt to the

species.” Conner v. Burford, 848 F.2d 1441, 1454 (9th Cir. 1988).

       Two of Plaintiffs’ claims were brought under the APA. Under the APA standard of

review, a “reviewing court shall . . . hold unlawful and set aside” an agency decision if it is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” or

“without observance of procedure required by law . . . .” 5 U.S.C. §706(2)(A),(D). The Supreme

Court holds that an agency action is arbitrary and capricious “if the agency has relied on factors

which Congress has not intended it to consider, entirely failed to consider an important aspect of

the problem, offered an explanation for its decision that runs counter to the evidence before the

agency, or is so implausible that it could not be ascribed to a difference in view or the product

of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983).
                                         VI. ARGUMENT

A.     The Forest Service’s refusal to prepare a Biological Assessment for the Project for
       grizzly bears violates the ESA. To the extent the Fish and Wildlife Service’s species
       list does not include grizzly bears, the species list also violates the ESA.

       The ESA is “the most comprehensive legislation for the preservation of endangered

species ever enacted by any nation.” Tenn. Valley Auth. v. Hill, 437 U.S. 153, 180 (1978). The

ESA states that “various species of fish, wildlife, and plants in the United States have been

rendered extinct as a consequence of economic growth and development untempered by adequate

concern and conservation[.]” 16 U.S.C. §1531(a)(1). The ESA further states that species that are

endangered or threatened have “esthetic, ecological, educational, historical, recreational, and

scientific value to the Nation and its people[.]” Id. at §1531(a)(3). Thus, Congress passed the

ESA to “provide a program for the conservation of . . . endangered species and threatened

species” and to “provide a means whereby the ecosystems upon which endangered species and

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threatened species depend may be conserved.” 16 U.S.C. §1531(b).

       To receive protection under the ESA, a species must first be listed by the Secretary of the

Interior or Secretary of Commerce as “endangered” or “threatened” pursuant to ESA Section 4.

16 U.S.C. §§1533, 1532(15). Once a species is listed, the ESA mandates that “all Federal

departments and agencies shall seek to conserve endangered species and threatened species and

shall utilize their authorities in furtherance of the purposes of” the ESA. 16 U.S.C. §1531(c)(1).

“Conservation” means the use of “all methods and procedures which are necessary to bring any

endangered species or threatened species to the point at which the measures provided pursuant to

[the ESA] are no longer necessary,” i.e., the use of all measures necessary for species recovery.

See 16 U.S.C. §1532(3). As the Ninth Circuit has summarized: “the ESA was enacted not merely

to forestall the extinction of species (i.e., promote a species survival), but to allow a species to

recover to the point where it may be delisted.” Gifford Pinchot Task Force v. U.S. Fish &

Wildlife Serv., 378 F.3d 1059, 1070 (9th Cir. 2004), amended on other grounds by 387 F.3d 968

(9th Cir. 2004).

       Accordingly, the Supreme Court holds that “[t]he plain intent of Congress in enacting this

statute was to halt and reverse the trend toward species extinction, whatever the cost. . . .The

[language] . . . reveals a conscious decision by Congress to give endangered species priority over

the ‘primary missions’ of federal agencies.” Hill, 437 U.S. at 184-85. The Supreme Court

further holds:

       Congress has spoken in the plainest of words, making it abundantly clear that the
       balance has been struck in favor of affording endangered species the highest of
       priorities, thereby adopting a policy which it described as “institutionalized
       caution.” Our individual appraisal of the wisdom or unwisdom of a particular
       course consciously selected by the Congress is to be put aside in the process of
       interpreting a statute.

Hill, 437 U.S. at 194.

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        As a first step in meeting the recovery goals of the ESA, and consistent with the ESA’s

“institutionalized caution” mandate, the ESA requires:

        each Federal agency shall . . . request of the Secretary information whether any
        species which is listed or proposed to be listed may be present in the area of such
        proposed action. If the Secretary advises, based on the best scientific and
        commercial data available, that such species may be present, such agency shall
        conduct a biological assessment for the purpose of identifying any endangered
        species or threatened species which is likely to be affected by such action.

16 U.S.C. § 1536 (c)(1)(emphases added). In short, “[o]nce an agency is aware that an

endangered species may be present in the area of its proposed action, the ESA requires it to

prepare a biological assessment . . . .” Thomas v. Peterson, 753 F.2d 754, 763 (9th Cir.1985),

overruled on other grounds as recognized by Cottonwood, 789 F.3d at 1092. “A failure to

prepare a biological assessment for a project in an area in which it has been determined that an

endangered species may be present cannot be considered a de minimis violation of the ESA.”

Thomas, 753 F.3d at 763-64.

        The ESA regulations provide that in order to implement this section of the statute, the

action agency, here the Forest Service, “shall convey” to the Fish and Wildlife Service either “a

written request for a list of any listed . . . species . . . that may be present in the action area” or “a

written notification of the species . . . that are being included in the biological assessment.” 50

C.F.R. §402.12 (c). If the Forest Service conveys its own species list to the Fish and Wildlife

Service, the Fish and Wildlife Service “shall either concur with or revise the list . . . .” 50 C.F.R.

§402.12 (d). Thus, the Forest Service’s first step in complying with the statutory Biological

Assessment requirement is to obtain from the Fish and Wildlife Service “a list of any listed or

proposed species or designated or proposed critical habitat that may be present in the action

area.” 50 C.F.R. § 402.12(c)-(d); see also Forest Guardians v. Johanns, 450 F.3d 455, 457 (9th

Cir. 2006) (explaining the process - (1) receive species list, (2) prepare biological assessment, (3)

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make effects determination).

        The conclusions of the Fish and Wildlife Service in the species list are not given blind

deference however. A species list will violate the ESA, and thus have no legal effect, if it does

not apply the “may be present” threshold properly “based on the best scientific and commercial

data available . . . .” 16 U.S.C. § 1536 (c)(1). The phrase “may be present” is a term of art. As

explained in the formal agency rule adopting the ESA regulations:

        One of these commenters urged the Service to include only species actually
        known or believed to occur in the action area. . . . However, the Act requires the
        Service to provide a list of all listed or proposed species that “may be present” in
        the action area. Thus, migratory species that “may be present” at some point
        within the action area must be included in the species list.

51 Fed. Reg. 19926, 19946 (June 3, 1986). Accordingly, the test for whether a Biological

Assessment is required is not whether the species is “actually known or believed to occur” but

rather whether a species “may be present” by traveling through the area “at some point” during

the action. Id. Consistent with the ESA’s “institutionalized caution” mandate, see Hill, 437 U.S.

at 194, this test is a low bar.

        As further explained by the District of Montana, “the ‘may be present’ standard does not

require actual occurrence” because such a requirement would “conflict with the statutory

language” and “create[] a metric more stringent than, and contrary to, what the ESA dictates.”

Native Ecosystems Council v. Krueger, 946 F.Supp.2d 1060, 1074 (D. Mont. 2013). Thus, a

species list that only lists species “actually known or believed to occur” must be remanded for the

application of the proper definition of “may be present.” Id. at 1074. In Krueger, the District of

Montana remanded a species list to the Fish and Wildlife Service because the species list did not

apply the “may be present” threshold in a lawful manner, and the court held that “the Project

must be enjoined until the Wildlife Service reconsiders its listing determination in accordance


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with this opinion.” Id.

       Once the low “may be present” threshold is reached, the Forest Service “shall” prepare a

Biological Assessment. 16 U.S.C. § 1536 (c)(1). The Biological Assessment itself must reach

one of the following conclusions regarding a project’s effects: (1) no effect, (2) may affect but

not likely to adversely affect, or (3) may affect and likely to adversely affect. See Native

Ecosystems Council v. Marten, - - - F.Supp.3d - - - -, 2020 WL 1479059, at *6 (D. Mont. 2020).

Thus, “a no effect determination does not obviate the need for a BA, as the BA is the mechanism

by which an agency concludes that its proposed action will have ‘no effect,’ ‘may affect,’ or ‘is

likely to adversely affect’ a listed or proposed species.’” Id. A “may affect but not likely to

adversely affect” conclusion in a Biological Assessment requires “informal” consultation with

the Fish and Wildlife Service in the form of a “Letter of Concurrence.” 50 C.F.R. §402.13 (c).

A “may affect and likely to adversely affect”conclusion in a Biological Assessment requires

“formal” consultation with the Fish and Wildlife Service in the form of a “Biological Opinion.”

50 C.F.R. §402.14 (b)(1), (h).

       As discussed in Plaintiffs’ Statement of Material Facts, the Grizzly Bear Recovery Plan

recognizes seven distinct ecosystems that still provide either remnant populations or sufficient

habitat for grizzly bears: Greater Yellowstone, Northern Continental Divide, Cabinet-Yaak,

Selkirk, North Cascades, Bitterroot, and San Juan Ecosystems. USFS AR:008213. The

Bitterroot Ecosystem is centered in the Selway-Bitterroot Wilderness Area in Montana and

Idaho, and includes National Forest lands surrounding this Wilderness Area and the Frank

Church - River of No Return Wilderness Area on both sides of the Salmon River. USFS

AR:008214.

       When the 1993 Grizzly Bear Recovery Plan was published, the Fish and Wildlife Service


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found: “It is unclear at this point as to whether grizzly bears in this area are permanent residents.

However, the study confirms that the Bitterroot evaluation area contains sufficient amounts of

quality habitat to warrant grizzly bear recovery [].” USFS AR:008214. The Grizzly Bear

Recovery Plan states:

       One objective of the recovery plan is to identify specific management measures
       needed to remove population and habitat limiting factors so that populations will
       increase and sustain themselves at levels identified as the recovery goals. One
       factor that may affect the sustainability of grizzly bear populations in the future is
       the ability of individual animals to move between ecosystems. Accurate
       information is necessary to assess the potential for this type of movement in
       linkage zones between existing adjacent grizzly bear recovery zones.

USFS AR:008228. The Grizzly Bear Recovery Plan further states:

       In order to adequately assess the capacity for linkage, the Service initiated a 5-year
       process to assess the linkage potential between the various ecosystems. This
       process will be led by the US. Fish and Wildlife Service. . . . At the completion of
       the 5-year evaluation effort, a report will be available to the IGBC on the potential
       for linkage between existing ecosystems . This report will be the basis for future
       actions regarding the linkage zone question.

USFS AR:008228-29.

       The Grizzly Bear Recovery Plan includes a map of potential linkage zones between

Recovery Zones, and the St. Joe area falls within one of these potential linkage zones (indicated

with an arrow):




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USFS AR:008229. Subsequently, the Fish and Wildlife Service published a 1996 Supplement to

the Grizzly Bear Recovery Plan to address the Bitterroot Ecosystem (Bitterroot Supplement).

USFS AR:010697-010724. The Bitterroot Supplement explains that the Bitterroot Ecosystem

“formerly contained grizzly bears” and “[t]he demise of the grizzly from the [Bitterroot

Ecosystem] was due to the actions of humans.” USFS AR:010698.

       Several years after the Bitterroot Supplement was issued, the Fish and Wildlife Service

issued a Record of Decision and final rule authorizing the reintroduction of grizzly bears into the

Bitterroot. 65 Fed. Reg. 69624-26, 2000 WL 1711586 (November 17, 2000). However, the

agency never took action to implement that decision. See 66 Fed. Reg. 33620, 2001 WL 697605

(June 22, 2001)(proposing to reevaluate its decision and select the “no action” alternative from

the reintroduction EIS). In the 2000 Bitterroot grizzly reintroduction rule, the Fish and Wildlife

Service found that “[t]he reestablishment of a grizzly bear population in the Bitterroot ecosystem

will increase the survival probabilities and further the conservation of the species in the lower 48

States.” Id. at 69625. The Bitterroot grizzly reintroduction analysis designated a “Bitterroot

Experimental Population Area,” which encompasses the Brebner Flat Project area:




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Exhibit 1 at xvii; see also 65 Fed. Reg at 69642.

       The Bitterroot grizzly reintroduction EIS states: “[f]or grizzly bears to naturally

repopulate the [Bitterroot Ecosystem] they must gradually extend their range south . . . . If this

occurred, grizzly bears would also inhabit the area between the two ecosystems as a result of

their southern range extension.” Exhibit 1 at 2-49 - 2-50. The EIS finds that “land-use activities

(including timber harvest) could be altered solely for grizzly bears if grizzly presence was

documented . . . and research indicates that . . . linkage zone restrictions are necessary to promote

grizzly bear recolonization.” The EIS further finds: “If grizzly bears recolonize, it is estimated

that reductions in timber harvest on affected currently roaded national forest lands would be

between 8.3 and 39.7 million board feet per year over the next decade.” Exhibit 1 at xxxi.

       Similar to the Grizzly Bear Recovery Plan, the Bitterroot grizzly reintroduction EIS also

states that “[a]n analysis of linkage zones for habitat suitability and potential impediments to bear

movement is being conducted by the USFWS . . . . This analysis will determine if linkage zones

among grizzly bear ecosystems could occur and where those zones might exist.”         Exhibit 1 at

2-46. The “analysis of linkage zones for habitat suitability” referenced in the Bitterroot grizzly

reintroduction EIS, Exhibit 1 at 2-46, and Grizzly Bear Recovery Plan, USFS AR:008228-29,

was completed by in 2001, and is entitled “Identification and management of linkage zones for

grizzly bears between the large blocks of public land in the Northern Rocky Mountains,” but this

document was not included in the agencies’ record, and the Court has declined to take judicial

notice of this document. Dkt 53 at 13. Thus, it will not be discussed here.

       Although the Fish & Wildlife Service never followed through with its grizzly

reintroduction plan for the Bitterroot Ecosystem, grizzly bears have slowly started attempts to

naturally recolonize this area. The first known grizzly attempting to immigrate into the Bitterroot


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Ecosystem was a grizzly that traveled south from the Selkirk Ecosystem, which is north of the

Project area, but was killed near Kelly Creek, Idaho, which is south of the Project area. Exhibit 2

at 5-6. In comments on a 2008 highway project, the Fish & Wildlife Service Grizzly Bear

Recovery Coordinator states:

        In contrast to what is stated in the EA on p. 62, grizzly bears are expected to
        inhabit the Little Joe Project area. . . . While we have no exact route for the
        movement of this bear because it was unmarked, a straight line between the
        Selkirk Mountain origin of this bear and the location where it died in Kelly Creek
        passes directly through the Little Joe Project area.

Exhibit 2 at 5-6.

        On June 23, 2019, the Bonner County Daily Bee published an article entitled “Grizzly

Bear Moves from Kellogg to Kelly Creek Area” that detailed more recent evidence of grizzly

bears in the St. Joe:

        A grizzly that denned northeast of Clark Fork near Montana's Spar Lake has
        turned up in the Kelly Creek drainage in Idaho’s Clearwater forest.

        According to the Fish and Wildlife Service, the 2-year-old collared male bear that
        was observed in the Cabinet Mountains near Spar Lake in 2018 moved south
        across the Clark Fork River, where it spent the summer before returning to den in
        the Cabinets last winter.

        The bear emerged in March, crossed the Clark Fork River in April and was
        located 40 miles southeast of Kellogg 10 days ago before making its way to the
        Kelly Creek drainage.

        The bear was spotted by a black bear hunter in Unit 10, where the black bear
        hunting season is currently open.

        Kelly Creek is a drainage of the North Fork of the Clearwater River, which flows
        into Dworshak Reservoir north of Orofino.

        The bear moved from the St. Joe area south of Kellogg to Kelly Creek in three
        days, according to USFWS data.

        Idaho Fish and Game, which manages the black bear hunting season in the state,
        is asking hunters throughout north and north central Idaho to make sure they can
        identify grizzly bears, and to be aware of the increased frequency of grizzlies.

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       “Black bear hunters in north-central Idaho, specifically those who are hunting in
       Unit 10 and 12, are asked to use increased vigilance after a radio-collared grizzly
       bear was spotted (there) by a hunter,” according to a USFWS press release.

       Unit 10 and 12 are not an area where hunters would normally expect to encounter
       a grizzly bear, although grizzlies have been encountered there in the past. In
       2007, a hunter killed a grizzly he thought was a black bear while hunting near
       Kelly Creek, according to USFWS.

       “We want to make sure that hunters in the area be extra-vigilant and careful while
       afield, both in identifying their targets and while traveling to their hunting spot,
       because we do have at least one known grizzly bear in there,” said Jon Rachael,
       state game manager for Fish and Game.

Exhibit 3 at 1-2 (emphasis added)

       The grizzly bear discussed in the Bonner County Daily Bee article quoted above is

radio-collared grizzly bear 927 (“Bear 927”). USFS AR:000353. In its travels through the St.

Joe area, Bear 927 was tracked traveling within one mile of the eastern boundary of EMU 7-6,

and approximately 13 miles east of the eastern boundary of the Project area:




USFS AR:000353 (Plaintiffs have superimposed the approximate boundary of EMU 7-6 on this

photo; red circles on the right show radio-collared grizzly locations).


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       Additionally, in October 2019, Idaho Fish and Game provided information to the Forest

Service regarding a den with confirmed grizzly DNA in the St. Joe, which was incidentally

observed in the area during an aerial mountain goat survey in 2017:

       Near Blackdome Peak, St. Joe National Forest. Drive road 301 from Avery to
       road 457. Park in turnout at saddle before peak. Den is on west aspect near the top
       of the ridge in boulder field among large (i.e. >5ft diameter boulders). There were
       two main caves beneath the rocks with hair, scat etc. It looked like there were
       remains of several birds, snowshoe hairs, ground squirrels etc as well as a few
       ungulate hairs. I collected 20 envelopes full of hair and scat (sample names:
       Den2017_1 – Den2017_20). Coordinates: 46.98791, -115.82269 Elevation: 6308
       ft.

USFS AR:014798. The Idaho Fish and Game email further states: “We submitted 11 scat

samples and 6 hair samples to Wildlife Genetics International (WGI) for species testing and the

results are as follows: 7 samples: Red Fox [,] 1 (scat) sample: Grizzly Bear[,] 9 samples: Failed.”

USFS AR:014798 (emphasis added).

       Grizzly bears are a wide-ranging species: “Movements of grizzly bears may exceed 60

airline miles and their home ranges can encompass up to 1,000-1,500 [square miles].” USFS

AR:008225. Grizzly bears can also travel at speeds up to 45 miles per hour. USFS AR:008204.

As noted above, Bear 927 moved from the St. Joe area south of Kellogg, Idaho to Kelly Creek,

Idaho – a distance of approximately 80 miles – in just three days, according to the Fish and

Wildlife Service. Exhibit 3 at 2.

       The den with grizzly bear DNA on Blackdome Peak is approximately 12 miles south of

the Project area, and if the grizzly came from Northern Idaho it could have traveled directly

through the Brebner Flat Project area. Moreover, a grizzly bear denning 12 miles south of the

Project area could be including the Brebner Flat Project area as part of its home range. See USFS

AR:008225. Consistent with these possibilities, and consistent with the ESA’s institutionalized

caution mandate, Hill, 437 U.S. at 194, Idaho’s 2020 hunting regulations now state: “Grizzly

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bears may be found in 3 areas of Idaho [including] The Panhandle in big game units 1, 2, 3, 4,

4A, 6, 7 and 9 . . . .” Exhibit 4 at 7 (emphasis added). The Brebner Flat Project falls within Zone

7. USFS AR:015022 (map). Thus, according to Idaho’s wildlife management agency, grizzly

bears “may be found” in the Brebner Flat Project area. Exhibit 4 at 7.

       In an appendix in the Project Wildlife Report, even the Forest Service concedes that “the

potential for grizzly bear occurrence on the St. Joe Ranger District and in the project area cannot

be totally dismissed . . . .” USFS AR:014831. The Forest Service further concedes that there is a

“possibility of transient individuals,” i.e. traveling grizzly bears, in the area. USFS AR:014831.

Finally, in light of verified records or reports of grizzly bears on the St. Joe, including grizzly

DNA from scat found in a den, USFS AR:014798, and radio-collar locations, USFS AR:014798,

the Forest Service’s stale representation that “there are no verified records or reports of grizzly

bears on the St. Joe,” USFS AR:014831, is demonstrably false. This representation, and the fact

that the Forest Service Wildlife Report does not use any evidence more recent than 2010,1 USFS

AR:014830-31, establish that the Forest Service did not issue a determination “based on the best

scientific and commercial data available” for this Project, as required by the ESA, 16 U.S.C. §

1536 (c)(1), Conner, 848 F.2d at 1454 (agency “cannot ignore available biological information”).

       As discussed above, because of the “institutionalized caution” mandate that protects

ESA-listed species, Hill, 437 U.S. at 194, the possibility that a grizzly “may be present” in the

area is all that is required under the law in order to mandate preparation of a Biological

Assessment, 16 U.S.C. § 1536(c)(1), Thomas, 753 F. 2d at 763. The “may be present” threshold

for preparation of a Biological Assessment does not require permanent occupancy, known



       1
       The Wildlife Report cites three references: USFWS (2000), USFWS (1996), and
Servheen and Shoemaker (2010). USFS AR:014830-31.

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occurrence, or even believed occurrence, but instead includes migratory or transient individuals

that may travel through the area “at some point . . . .” 51 Fed. Reg at 19946.

       The case most similar to the instant case is Krueger. In Krueger, the District of Montana

addressed the “may be present” standard as applied to traveling grizzly bears in Montana and

found that a Biological Assessment was required::

       no grizzlies have been sighted in the Project area itself. . . . [however] it is not
       necessary that grizzly bears occupy an area . . . . Grizzly bears “may be present” if
       “transitory bears [ ] might move through the project area.” []. The Project area
       has “fairly good connectivity” with areas with known grizzly bear activity, [], and
       implicit in the Wildlife Report’s and Environmental Assessment’s discussion . . .
       is the possibility that grizzly bears, which are known to occur nearby and are a
       wide-ranging species, might travel through the Project area. . . . . the first question
       in the section 7 analysis—whether grizzly bears may be present in the action
       area—must have been answered in the affirmative . . . .

Krueger, 946 F.Supp.2d at 1077.

       The same result is required in this case. Just as in Krueger, as discussed above, here too

grizzly bears are wide-ranging, and their presence has been confirmed in nearby areas within easy

traveling distance and with good connectivity to the Project area. See id. Moreover, here the

relevant state wildlife management agency finds that grizzly bears “may be found” in Unit 7,

which encompasses the Project area. Exhibit 4 at 7. Furthermore, even the Forest Service

concedes that “the potential for grizzly bear occurrence on the St. Joe Ranger District and in the

project area cannot be totally dismissed,” and it expressly acknowledges that there is a

“possibility of transient individuals” in the area. USFS AR:014831. These circumstances satisfy

the very low “may be present” threshold; therefore, a Biological Assessment must be prepared.

16 U.S.C. § 1536 (c)(1); Thomas, 753 F.2d at 763.

       Finally, if there is any doubt regarding this claim, “institutionalized caution” must be

applied, and the Court must “give the benefit of the doubt to the species” by ordering preparation


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of a Biological Assessment. Conner, 848 F.2d at 1454; see also Swan View Coal. v.

Barbouletos, 2008 WL 5682094, at *15 (D. Mont. 2008)(“Defendants fail to explain why any

ambiguity should be resolved to the detriment of grizzly bears . . . . The ESA requires that

protected species be given ‘the benefit of the doubt' in management decisions.”)

B.     The Forest Service has prepared a Biological Assessment for lynx for the Project,
       thereby providing Plaintiffs with the relief they requested and rendering Claim Two
       moot.

       On July 13, 2020, this Court held that Plaintiffs were likely to succeed on the merits of

Claim Two because the Forest Service did not prepare a Biological Assessment for lynx for the

Brebner Flat Project. Dkt 28 at 21. In response, on September 3, 2020, the Forest Service

provided the Fish and Wildlife Service with a Biological Assessment for lynx for the Project.

USFS AR:018000.

       Now that the Forest Service has complied with the statutorily-mandated ESA Section 7

procedure by (1) preparing a Biological Assessment for lynx based on the “may be present”

inquiry, and (2) using the Biological Assessment to make its “no effect” determination for lynx,

Plaintiffs’ request for a Biological Assessment for lynx is moot. Accordingly, Claim Two may

be dismissed as moot. See Forest Guardians v. Johanns, 450 F.3d 455, 462 (9th Cir. 2006).

C.     The analysis of impacts to elk and elk habitat in the Project EA violate NEPA and
       fail to establish compliance with the Forest Plan, in violation of NFMA.

       As set forth below, the Forest Service’s failure to take a hard look at cumulative effects

on the declining elk population in the area, and failure to take a hard and honest look at the

efficacy of the proposed mitigation measure for elk security, violate NEPA and require a full EIS.

In addition, the proposed mitigation measure – likely only a posted sign, but perhaps a gate – will

fail to effectively prevent motorized use on Road 1956E; therefore, the Project will cause a net

loss in elk security in violation of the Forest Plan and NFMA.

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       1.      The Project EA fails to address cumulative effects to the declining elk
               population in the area.

       Cumulative effects are defined in NEPA’s implementing regulations as follows:

       the impact on the environment which results from the incremental impact of the
       action when added to other past, present, and reasonably foreseeable future
       actions regardless of what agency (Federal or non-Federal) or person undertakes
       such other actions. Cumulative impacts can result from individually minor but
       collectively significant actions taking place over a period of time.

40 C.F.R. §1508.7. NEPA requires that where “several actions have a cumulative . . .

environmental effect, this consequence must be considered in an EIS.” Neighbors of Cuddy

Mountain v. USFS, 137 F.3d 1372, 1378 (9th Cir. 1998) (citation omitted).

       “In a cumulative impact analysis, an agency must take a ‘hard look’ at all actions that

may combine with the action under consideration to affect the environment.” Great Basin Res.

Watch v. BLM, 844 F.3d 1095, 1104 (9th Cir. 2016) (citation and quotation mark omitted).

“[S]imply listing all relevant actions is not sufficient.” Id. Instead, “some quantified or detailed

information is required. Without such information, neither the courts nor the public, in reviewing

the Forest Service’s decisions, can be assured that the Forest Service provided the hard look that

it is required to provide.” Neighbors, 137 F.3d at 1379.

       The cumulative effects analysis must be in the NEPA document – here the EA. See, e.g.,

Kern v. U.S. Bureau of Land Mgmt., 284 F.3d 1062, 1078 (9th Cir. 2002)(“At a minimum, the

BLM is required to provide such an analysis in the EA”); Klamath-Siskiyou Wildlands Ctr. v.

Bureau of Land Mgmt., 387 F.3d 989, 994 (9th Cir. 2004)(“Although each of the EAs contains a

section of more than a dozen pages under the heading ‘Cumulative Effects,’ a close read reveals

that those sections do not adequately discuss the subject.”); see also Idaho Conservation League

v. Bennett, 2005 WL 1041396, at *5 (D. Id. 2005).

        The Ninth Circuit holds that Plaintiffs need not prove cumulative effects will occur in

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order to prevail on a cumulative effects claim:

       In order for Plaintiffs to demonstrate that the [agency] failed to conduct a
       sufficient cumulative impact analysis, they need not show what cumulative
       impacts would occur. To hold otherwise would require the public, rather than the
       agency, to ascertain the cumulative effects of a proposed action. []. Such a
       requirement would thwart one of the twin aims of NEPA- to ensure that the
       agency will inform the public that it has indeed considered environmental
       concerns in its decisionmaking process. [] Instead, we conclude that Plaintiffs
       must show only the potential for cumulative impact.

Te-Moak Tribe of W. Shoshone of Nevada v. U.S. Dep't of Interior, 608 F.3d 592, 605 (9th Cir.

2010)(internal quotation marks and citations omitted).

       In this case, Plaintiffs meet their burden to “show only the potential for cumulative

impact.” See id. As set forth below, there is a potential for cumulative effects on the local elk

population, and the Forest Service has failed to conduct an adequate cumulative effects analysis

of this issue. First, according to the Idaho Elk Management Plan, the elk population in Unit 7 –

which encompasses the Project area – has “declined dramatically” since 2006. USFS

AR:015023. More specifically, “[t]he 2012 survey showed about one third as many elk as

estimated in 2006.” USFS AR:015023. Idaho’s Elk Management Plan lists the elk population’s

current status as “decreasing.” USFS AR:015024.

       Additionally, the private lands surrounding the Project area have been heavily clearcut in

recent times, and the Project will allow 1,719 acres of further clearcutting of some of the last best

forested buffers for elk. USFS AR:000005; USFS AR:000076. One local resident explained:

       Our family has been hunting and camping in the Kelly Creek/Siwash Peak area for
       over 50 years. . . . We are probably more familiar with that drainage than anyone
       in the region and have seen all of the changes that have taken place over this time
       and how these changes have altered elk behavior. . . . It once was a beautiful area
       with a thriving elk population. These trails have all been destroyed by clear cut
       logging as have all the major game trails which were landmarks unto themselves. .
       . . If the logging you propose was in an area where recent logging had not been so
       drastic it would be acceptable, however it comes on the back end of very
       significant clearcutting of private and Forest Service land in the area and in fact,

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        what you are proposing, is basically logging the only areas that haven’t already
        been taken.

USFS AR:000313; see also USFS AR:000347-348 (another local resident stating “I strongly

disagree with USFS putting new over 40-acre clear cuts and eliminating the elk security areas. . .

. The elk are not flourishing . . . .”).

        The public comments include a map to show proposed Project logging and recent

clearcutting in the area:




USFS AR:000314. The explanation of the map states:

        The majority of the logging in red was in the form of clearcuts which completely
        eliminated the forested area. . . .The elk have been forced to take refuge in the
        forested areas that border these clearcuts. To now come in and log 1,948 acres of
        these borders and add 17 more clearcuts will all but eliminate the timber areas
        available in the area. Your proposal suggests leaving buffer areas for elk habitat,
        but what you are doing is taking away the only buffer areas that currently exist.
        Any supposed buffers remaining will be either stream areas or extremely narrow
        patches, certainly not sufficient to provide cover.

USFS AR:000314.

        The best available science supports the sentiment expressed in these public comments


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that this Project area lacks sufficient elk security. The best available science on elk habitat

requires at least 30% of an elk unit to provide “elk security” habitat: “To provide a reasonable

level of bull survival, each security area must be a nonlinear block of hiding cover $ 250 acres in

size and $ one-half mile from any open road. Collectively, these blocks must equal at least 30%

of the analysis unit.” USFS AR:021836; see also USFS AR:011595. Currently, however, the elk

management unit encompassing the Project area – EMU 7-6 – provides only 5% elk security.

See USFS AR:000077 (existing condition 2,313 acres of security); USFS AR:014821 (EMU 7-6

is 47,311 acres). Neither the 30% scientific threshold, nor the 5% existing condition, was

disclosed by the Forest Service to the public in the Project EA.

       Moreover, the Project will cause a “reduction in elk security (210 acres) . . . due to

activities associated with timber harvest such as the construction of roads, tree plantings, gopher

control, and fuels treatments in the project area.” USFS AR:000077. A reduction of 210 acres of

security results in 2,103 acres of elk security, which is 4% of EMU 7-6. See USFS AR:000077;

USFS AR:014821.

       Local residents who have hunted this area for decades shared their detailed first-hand

observations of how logging has harmed the elk population over time in this area, and how the

Project is likely to cause further cumulative harm in the area. USFS AR:000314; USFS

AR:000347-348      Nonetheless, the cumulative effects discussion in the Project EA consists of

three vague sentences:

       Cumulative Effects of the Proposed Action

       There are no current timber sales within the Brebner Flat project area but there are
       foreseeable private land timber harvest activities in the project area that would
       occur. In our elk security calculations, all private lands are considered “not secure;”
       therefore, any additional harvest in those areas would not change (decrease) the
       amount of elk security since we already accounted for the lack of security habitat.
       There are no other activities ongoing or planned in the project area that would add

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       cumulatively and substantially to the proposed action.

USFS AR:000077.

       As the Ninth Circuit has recently stated, “[t]hese are the kind of conclusory statements,

based on ‘vague and uncertain analysis,’ that are insufficient to satisfy NEPA's requirements.”

Bark v. USFS, 958 F.3d 865, 872 (9th Cir. 2020). “We have held that cumulative impact

analyses were insufficient when they ‘discusse[d] only the direct effects of the project at issue on

[a small area]’ and merely ‘contemplated’ other projects but had ‘no quantified assessment’ of

their combined impacts.” Id. (citing Klamath-Siskiyou, 387 F.3d at 994).

        More specifically, these three sentences fail to provide the public with the available,

detailed, and quantified information regarding (a) the dramatically declining elk population in

this area, (b) the 30% elk security threshold set by the best available science, (c) the fact that the

Project area currently has only 5% security, and (d) the full extent of recent clearcutting on

private lands in EMU 7-6 and the fact that the Project will remove most of the remaining forested

buffers. The failure to disclose and discuss this basic and available information – that is both of

significant public interest and necessary to make an informed decision – violates the Forest

Service’s legal obligation to take a “hard look” at the cumulative effects of this Project under

NEPA. Great Basin, 844 F.3d at 1104.

       The Forest Service's refusal to disclose these basic facts to the public in the Project EA

frustrates the general public’s ability to be fully and fairly informed regarding the Project’s

cumulative effects, which is one of NEPA’s fundamental purposes: “the EA [must] foster both

informed decision-making and informed public participation.” Ctr. for Biological Diversity v.

NHTSA, 538 F.3d 1172, 1194 (9th Cir. 2008)(internal alterations omitted); see also 40 C.F.R. §

1500.1 (“NEPA procedures must insure that environmental information is available to public . . .


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citizens before decisions are made and before actions are taken. The information must be of high

quality. . . . public scrutiny [is] essential to implementing NEPA.”)

       “Overall, there is nothing in the EA that could constitute ‘quantified or detailed

information’ about the cumulative effects of the Project” on the declining elk population in this

area. See Bark, 958 F.3d at 873. Thus, the failure of the Project EA to address the cumulative

effects of the Project on the dramatically declining elk population in the area violates NEPA.

       2.      The Project EA fails to honestly analyze the efficacy of elk security
               mitigation and fails to demonstrate compliance with the Forest Plan elk
               security provision.

       In addition to its failure to adequately disclose and take a hard look at cumulative effects,

the Project EA also fails to address the efficacy of the proposed mitigation measure: posting a

sign, or perhaps a gate, on Road 1956 E to “create” new elk security to mitigate for the loss of elk

security from Project logging and road-building. USFS AR:020029, 76; USFS AR:000061, 77.

The Ninth Circuit holds that NEPA requires agencies to “analyze the mitigation measures in

detail [and] explain how effective the measures would be. A mere listing of mitigation measures

is insufficient to qualify as the reasoned discussion required by NEPA.” Northwest Indian

Cemetery Protective Assn. v. Peterson, 764 F.2d 581 (9th Cir. 1985). The Ninth Circuit also

holds: “An essential component of a reasonably complete mitigation discussion is an assessment

of whether the proposed mitigation measures can be effective. . . . The Supreme Court has

required a mitigation discussion precisely for the purpose of evaluating whether anticipated

environmental impacts can be avoided. . . . A mitigation discussion without at least some

evaluation of effectiveness is useless in making that determination.” S. Fork Band Council Of W.

Shoshone Of Nevada v. U.S. Dep't of Interior, 588 F.3d 718, 727 (9th Cir. 2009).

       Thus, “[t]he Forest Service’s perfunctory description of mitigating measures is


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inconsistent with the ‘hard look’ it is required to render under NEPA. Mitigation must be

discussed in sufficient detail to ensure that environmental consequences have been fairly

evaluated.” Neighbors of Cuddy Mountain, 137 F.3d at 1380 (citations & quotation marks

omitted). The analysis of the effectiveness of mitigation measures must be supported by

analytical data. Nat'l Parks & Conservation Ass'n v. Babbitt, 241 F.3d 722, 733-34 (9th Cir.

2001)(overruled on other grounds by Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139

(2010). Furthermore, if “agencies lack the power to guarantee the improvements in question. . . .

the proper course is to exclude them from the analysis and consider only those actions that are in

fact under agency control or otherwise reasonably certain to occur.” Nat'l Wildlife Fed'n v.

NMFS, 524 F.3d 917, 936 (9th Cir. 2008).

         If the effectiveness of a mitigation measure – such as a road closure – is not assured, then

the Forest Service cannot issue a Decision Notice & Finding of No Significant Impact, and

instead must prepare an EIS. See, e.g., Foundation for North American Wild Sheep v. USDA,

681 F.2d 1172, 1178 (9th Cir. 1982)(finding that the Forest Service had failed to establish that a

road closure was an effective mitigation method and therefore requiring a full EIS); Sierra Club

v. Bosworth, 352 F.Supp.2d 909, 924-25 (D. Minn. 2005)(noting “the questionable efficacy of

road closures through use of berms and gates, and the Forest Service’s concession that such

illegal uses have and do occur . . . . The analysis of this factor favors the necessity of preparing an

EIS.”)

         In this case, the Forest Plan Forest-wide Guideline WL-13 for elk mandates:

“Management activities in elk management units should maintain existing levels of elk security

(see glossary).” USFS AR:003240 (emphasis added). The Forest Service concedes that “[t]he

proposed harvest may reduce vegetation to the extent that elk habitat security is decreased, which


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would not be consistent with the Forest Plan guideline to maintain existing levels of elk security.

. . .” USFS AR:020029. More specifically, the Project will cause a “reduction in elk security

(210 acres) . . . due to activities associated with timber harvest such as the construction of roads,

tree plantings, gopher control, and fuels treatments in the project area.” USFS AR:000077. A

reduction of 210 acres of security results in 2,103 acres of elk security, which is 4% of EMU 7-6.

See USFS AR:000077; USFS AR:014821.

       Accordingly, in order to comply with the Forest Plan prohibition against reducing elk

security, the Forest Service proposes a measure to mitigate the otherwise significant impact of

this Project: it proposes to “create” new elk security by posting a sign that states that a portion of

a road is closed: “[t]he trail would be signed during the seasonal restriction.” USFS AR:000061.

The EA simply assumes that this mitigation measure will be effective, and based on this

assumption, represents that the Project will not violate the Forest Plan. USFS AR:000077.

However, there is no discussion in the EA regarding the efficacy of posting a sign to prevent

motorized use on a road. This failure to discuss the efficacy of the proposed mitigation measure

in the EA violates NEPA. See, e.g., S. Fork, 588 F.3d at 727; Northwest Indian, 764 F.2d 581.

       Moreover, the record does not support the assumption that this mitigation measure will be

effective. Instead, it is well-established that “[r]oads closed to public use through the use of only

signs or gates are often not effective (Zager and Jonkel 1983).” USFS AR:008356 (emphasis

added). Therefore, this Project violates the Forest Plan and an EIS is required to address the

significant impact of the Project. See e.g. Foundation for North American Wild Sheep, 681 F.2d

at 1178 (finding that Forest Service had failed to establish that a road closure was an effective

mitigation method and requiring a full EIS).

       Furthermore, although the final EA removes any reference to installing a gate on Road


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1956E and instead requires only that “[t]he trail would be signed during the seasonal

restriction,”2 USFS AR:000061, both the draft EA and the Wildlife Report (which was issued

seven months before the final EA) state that a gate would be installed as the mitigation measure,

USFS AR:020076, USFS AR:014821. However, even if the Forest Service did install a gate on

Road 1956E, the Project EA representation that “[e]xcept for isolated instances, gates are secure

on the District,” is demonstrably false. USFS AR:000077. Buried in the project record there is a

spreadsheet documenting the only Forest Service survey of gate effectiveness in EMU 7-6; the

agency’s own survey finds a 75% failure rate for gates in EMU 7-6. USFS AR:011601 - 011603.

The table below summarizes the gate survey in EMU 7-6:

             Road #     Forest Service     Rationale

                        Finding
 Gate #1     288        Not Effective      No lock
 Gate #2     433        Not Effective      No lock & ATV tracks circumvent gate
 Gate #3     1229       Not Effective      ATV tracks circumvent gate
 Gate #4     1234       Not Effective      ATV tracks circumvent gate
 Gate #5     1235       Not Effective      ATV tracks circumvent gate
 Gate #6     1241       Not Effective      Possible ATV and dirtbike tracks over rock and

                                           around gate
 Gate #7     1250       Effective          6-10 feet tall alder trees prevent motorized access
 Gate #8     1251       Not Effective      ATV tracks circumvent gate on both sides
 Gate #9     1464       Not Effective      Gate is broken and bent and has no lock
 Gate #10    1467       Effective          No access



       2
         The final Project EA also includes Appendix B, which clarifies road treatments.
Although several other roads – Roads 3468UB, 1236UB, 1234, 1235, 1236, 1239, 1251A, 3465,
3468, 3467, 3464, 3656, 3657, and 3620 – will be closed with a gate, Road 1956E is not listed as
a road that will be closed with a gate. USFS AR:000092-95.

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 Gate #11    1477        Not Effective       Gate is broken and has no lock
 Gate #12    1478        Effective           No access
 Gate #13    1483        Not Effective       Motor bike could circumvent gate
 Gate #14    1488        Not Effective       No lock; bike tracks possibly going around gate
 Gate #15    3469        Not Effective       Possibly accessible to a motor bike
 Gate #16    3656        Effective           No access
 Gate #17    3661        Effective           No access
 Gate #18    3662        Effective           No access
 Gate #19    3759        Not Effective       Gate is locked in an open position with a private

                                             lock
 Gate #20    3762        Not Effective       No lock
 Gate #21    3767        Not Effective       No lock
 Gate #22    1237UA      Not Effective       Portion of gate is missing; no lock
 Gate #23    1237UB      Not Effective       ATV tracks circumvent gate
 Gate #24    1237UK      Not Effective       No lock; ATV tracks circumvent gate
 Gate #25    1435        Not Effective       ATV tracks circumvent gate
 Gate #26    1956A       Not Effective       No lock
 Gate #27    752UC       Not Effective       Broken gate; no lock
 Gate #28    752UD       Not Effective       Broken gate
 Gate #29    752UQ       Not Effective       Portion of gate is missing
 Gate #30    752UR       Effective           No access

USFS AR:011601 - 011603.

       The Forest Service’s finding of a 75% failure rate for gates in EMU 7-6 was never

disclosed to the public in the Project EA, and instead the Project EA misleadingly represents

and/or implies that the opposite is true: “[e]xcept for isolated instances, gates are secure on the

District.” USFS AR:000077. As set forth above, in the only monitoring survey in the record, out



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of 30 total gates, 23 gates were deemed ineffective by the agency itself. USFS AR:011601 -

011603. An agency finding of 23 ineffective gates out of 30 gates total cannot be honestly

represented as “isolated incidents,” or merely “a handful” of “problem” gates. See USFS

AR:000077 (Project EA making these representations to the public). Instead, the overwhelming

majority of gates in EMU 7-6 are ineffective. USFS AR:011601 - 011603. And not only does

the Project EA fail to disclose the 75% failure rate for gates, but it also fails to address how the

75% failure rate for gates impacts the Forest Service’s calculations of elk security.

       On a visit to the Project area, Plaintiffs’ staff observed an example of one of these failed

gates – Road 1251, which is Gate #8 above – where ATV users were simply driving around the

gate on a well-established, user-created road that looks as though it has been there for years:




Dkt 7-2 at ¶ 3.

       In fact, the regular failure of gates to effectively prevent motorized access has been

known to the Forest Service for decades: “[r]oads closed to public use through the use of only

signs or gates are often not effective (Zager and Jonkel 1983).” USFS AR:008356; see also

Foundation for North American Wild Sheep, 681 F.2d at 1178; Sierra Club, 352 F.Supp.2d at


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924-25. Moreover, road closure failures are known to be a chronic problem on this specific

Forest. See All. for Wild Rockies v. Probert, 412 F.Supp.3d 1188, 1195 (D. Mont. 2019), appeal

dismissed, 2020 WL 3443468 (requiring new ESA consultation on the northern portion of the

Idaho Panhandle National Forest because “ineffective closures have . . . potentially impacted

grizzly bears in ways not previously considered”).

        In summary, the 75% failure rate for gates, and the known chronic, recurring nature of

these failures, draws into serious doubt whether a gate in EMU 7-6 could be credibly deemed to

be an effective mitigation measure. As the Ninth Circuit has previously held, if “agencies lack

the power to guarantee the improvements in question. . . . the proper course is to exclude them

from the analysis and consider only those actions that are in fact under agency control or

otherwise reasonably certain to occur.” Nat'l Wildlife Fed'n, 524 F.3d at 936.

        Without an effective mitigation measure for the loss in elk security that will violate the

Forest Plan, the Forest Service must prepare an EIS for this Project. Foundation for North

American Wild Sheep, 681 F.2d at 1178. Additionally, the violation of the Forest Plan elk

security provision is a violation of NFMA. Native Ecosystems Council v. USFS, 418 F.3d

953, 961 (9th Cir.2005) (citing 16 U.S.C. §1604(i)). Thus, if the Forest Service wants to proceed

with this Project as currently planned it must first amend the Forest Plan in a process that

complies with NFMA and NEPA. Native Ecosystems Council, 418 F.3d at 961. In the very

least, the Forest Service must start at square one and provide the public with a full, fair, and

honest discussion of the efficacy of using gates as a mitigation measure in a supplemental EA for

the Project. S. Fork Band Council, 588 F.3d at 727; Neighbors of Cuddy Mountain, 137 F.3d at

1380.




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D.     The Forest Service’s failure to address potential impacts on the St. Joe Wild and
       Scenic River in the Project EA violates NEPA, the APA, and the Wild and Scenic
       River Act regulations.

       Plaintiffs’ last claim is that the Forest Service’s failure to take a hard look at potential

Project impacts on the St. Joe Wild and Scenic River in the Project EA violates NEPA, the Wild

and Scenic River regulations, and the APA. The Wild and Scenic Rivers Act prohibits

“developments . . . on any stream tributary” to a Wild and Scenic River if the development will

“invade the area or unreasonably diminish the scenic, recreational, and fish and wildlife values

present in the area on the date of designation of a river as a component of the National Wild and

Scenic Rivers System.” 16 U.S.C. § 1278 (a).

       The regulations provide explicit direction that potential impacts to a Wild and Scenic

River must be assessed in project NEPA Environmental Assessments: “The determination of the

effects of a proposed water resources project shall be made in compliance with the National

Environmental Policy Act (NEPA). To the extent possible, authorizing agencies should ensure

that any environmental . . . assessments . . . prepared for a water resources project adequately

address the environmental effects on resources protected by the Wild and Scenic Rivers Act . . .

.” 36 C.F.R. § 297.

       In the Project EA, the Forest Service falsely represents to the public that “[t]he project

area . . . does not include . . . the wild and scenic river corridor . . . .” USFS AR:000051

(emphasis added). Based on this false representation, the Project EA does not analyze or disclose

a determination of the effects of the Project on the St. Joe Wild and Scenic River. After the

public comment opportunity passed, however, in the final Project Decision, the Forest Service

acknowledges that “[p]arts of the northern boundary of the project area falls within the St. Joe

Wild and Scenic River Corridor (WSR).” USFS AR:000013.


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       The September 13, 2018 draft EA, which was not made publicly available, found that

“[a]quatic habitat has the potential to be negatively affected due to the negative changes to the

stream channel” and bull trout may be affected “due to the potential for sediment generated in

Kelley, Siwash, Theirault and Williams to reach the St. Joe River.” USFS AR:020037. The

draft EA further found: “This alternative does not contribute to the Forest Plan goal ‘for restoring

aquatic habitat . . . .’ The alternative has the potential to slow natural process recovery of the fish

bearing streams.” USFS AR:020037. These unfavorable findings were edited out of the final

EA.

       The Forest Service’s failure to fully inform the public of these potential negative effects

on the fisheries of the St. Joe Wild and Scenic River in the Project EA, at a time when the public

could offer meaningful comments on this issue, violates the Wild and Scenic Rivers Act

regulations, and therefore violates the APA because the EA is not in accordance with law. The

regulation requires the Forest Service to address impacts on Wild and Scenic Rivers in a project

EA or EIS. 36 C.F.R. § 297.6. Additionally, the Forest Service’s misleading representations and

omissions in the EA, failure to take a hard look at this issue in the Project EA, and failure to fully

and fairly inform the public regarding this issue before making a decision violate NEPA.

                                           VII. REMEDY

       The Administrative Procedure Act directs that a court “shall . . . set aside” any agency

action found to be “arbitrary capricious . . . or otherwise not in accordance with law.” 5 U.S.C.

§706(2)(A). The Supreme Court holds that vacatur is the presumptive remedy for this type of

violation. See Fed. Election Comm'n v. Akins, 524 U.S. 11, 25 (1998) (“If a reviewing court

agrees that the agency misinterpreted the law, it will set aside the agency's action and remand the

case.”). Consistently, the Supreme Court holds that vacatur is preferable to injunctive relief:



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“[i]f a less drastic remedy (such as partial or complete vacatur of [the agency’s] decision) was

sufficient to redress respondents’ injury, no recourse to the additional and extraordinary relief of

an injunction was warranted.” Geertson Seed Farms, 561 U.S. at165-66.

       Accordingly, the Ninth Circuit agrees that there is a presumption of vacatur in this type of

case challenging a Forest Service logging project. Alliance, 907 F.3d at 1121-22. “While the

Ninth Circuit ‘does not mandate vacatur,’ courts ‘in the Ninth Circuit decline vacatur only

in rare circumstances.’” All. for Wild Rockies v. Marten, 2018 WL 2943251, at *2

(D. Mont. 2018). “[T]he Ninth Circuit has only found remand without vacatur warranted by

equity concerns in limited circumstances, namely serious irreparable environmental injury.” Ctr.

for Food Safety v. Vilsack, 734 F.Supp.2d 948, 951 (N.D. Cal. 2010). In California Communities

Against Toxics v. EPA, the Ninth Circuit found that the “limited circumstances” that justified

remand without vacatur in that case were regional blackouts, air pollution, mandatory new state

legislation, and economic disaster. 688 F.3d 989, 994 (9th Cir. 2012). Under these

circumstances, the court determined that “[t]he delay and trouble vacatur would cause are severe”

and weighed in favor of a rare remand without vacatur. Id.

       The Supreme Court holds that if vacatur is “sufficient to redress respondents’ injury,”

then injunctive relief is not warranted. Geertson Seed Farms, 561 U.S. at 165-66. In this case,

vacatur of the Decision would provide complete relief to Plaintiffs because the Project could not

be implemented until a new Decision is issued. At that time, the agency would be free to

implement the new Decision, and any challenge to the new Decision would need to be filed in a

new lawsuit.

       Nonetheless, if the Court declines to vacate the Decision, it may issue an injunction

instead. In general, “a plaintiff seeking permanent injunctive relief must satisfy a four-factor test


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by showing: (1) that it has suffered an irreparable injury; (2) that remedies available at law, such

as monetary damages, are inadequate to compensate for that injury; (3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy in equity is warranted; and

(4) that the public interest would not be disserved by a permanent injunction.” Cottonwood, 789

F.3d at 1088. However, in ESA cases, the test is altered so that “the equities and public interest

factors always tip in favor of the protected species.” Id. at 1091. The Ninth Circuit holds:

“Congress has spoken in the plainest of words, making it abundantly clear that the balance has

been struck in favor of affording endangered species the highest of priorities, thereby adopting a

policy which it described as institutionalized caution. That fundamental principle remains intact

and will continue to guide district courts when confronted with requests for injunctive relief in

ESA cases.” Id (internal cites and punctuation omitted).

       Additionally, “[t]he preservation of our environment, as required by NEPA and the

NFMA, is clearly in the public interest.” Sierra Club v. Bosworth, 510 F.3d 1016, 1033 (9th Cir.

2007)(citation omitted). In addition to the preservation of the environment, “ensuring that

government agencies comply with the law is a public interest of the highest order.” Native

Ecosystems Council v. USFS, 866 F.Supp.2d 1209, 1234 (D. Idaho 2012)(citation omitted). “The

public has an undeniable interest in the Forest Service’s compliance with NEPA’s environmental

review requirements and in the informed decisionmaking that NEPA is designed to promote.”

Colorado Wild Inc. v. USFS, 523 F.Supp.2d 1213, 1223 (D. Colo. 2007). These public interests

outweigh the short delay the private logging company will face in receiving profits from public

lands. See, e.g., League of Wilderness Defs. v. Connaughton, 752 F.3d 755, 765–66 (9th Cir.

2014) (“the marginal harm to the intervenors . . . is the value of moving those jobs and tax dollars

to a future year, rather than the present”). As the Ninth Circuit has previously stated: “Because


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we ask only that the Forest Service conduct the type of analysis that it is required to conduct by

law, an analysis it should have done in the first instance, it is difficult to ascertain how the Forest

Service can suffer prejudice by having to do so now.” Neighbors of Cuddy Mountain, 137 F.3d

at 1382.

        Because monetary damages are not permitted in a case such as this, the only factor

remaining to address is the irreparable harm inquiry. Cottonwood, 789 F.3d at 1088.

“Environmental injury, by its nature, can seldom be adequately remedied by money damages and

is often permanent or at least of long duration, i.e., irreparable.” Connaughton, 752 F.3d at 764

(quoting Supreme Court). The Ninth Circuit holds that “establishing irreparable injury should

not be an onerous task for plaintiffs.” Cottonwood, 789 F.3d at 1091. In short, a plaintiff must

make a “showing that specific projects will likely cause irreparable damage to its members’

interests.” Id. at 1092.

        Irreparable harm may be established with a showing that a plaintiff has an expressed

desire to visit a project area in an undisturbed state. Alliance for the Wild Rockies v. Cottrell, 632

F.3d 1127, 1135 (9th Cir. 2011). In Cottrell, the Ninth Circuit found that the fact that the

logging “Project will prevent the use and enjoyment by AWR members of 1,652 acres of the

forest” constituted irreparable harm. Id. As the Ninth Circuit similarly held in Connaughton:

        the LOWD plaintiffs have shown that the Snow Basin project will lead to the
        logging of thousands of mature trees. The logging of mature trees, if indeed
        incorrect in law, cannot be remedied easily if at all. Neither the planting of new
        seedlings nor the paying of money damages can normally remedy such damage.
        The harm here, as with many instances of this kind of harm, is irreparable . . . .

752 F.3d at 764; see also Idaho Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957, 974 (9th Cir.

2002)(“the Conservation Groups have demonstrated irreparable harm here because ‘[t]he old

growth forests [they seek] to protect would, if cut, take hundreds of years to reproduce’”);


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Neighbors of Cuddy Mountain, 137 F.3d at 1382 (same).

       In this case, Plaintiffs attest:

       The Brebner Flat Project will irreparably harm Friends of the Clearwater’s
       members’ interests in the naturally functioning ecosystems of the Forest and
       Project analysis areas, in particular their interests in looking for, viewing,
       studying, and enjoying elk, grizzly bears, lynx, bull trout, and other wildlife
       species undisturbed in their natural surroundings. Once the trees are cut down,
       the harm is irreparable because the trees cannot be placed back on the stumps.
       Logging removes important forest cover for lynx, elk, and grizzly bears. . .
       .Additionally, the Project will continue to degrade and reduce elk security . . . .
       Project logging is a significant concern due to the extensive clearcuts that already
       surround the Project area; the Project logging will remove some of the last best
       forested buffers . . . Thus, the Project road construction and logging will cause
       irreparable harm and prevent Friends of the Clearwater members’ use and
       enjoyment of the natural areas in the area in its undisturbed state for this purpose. .
       ..
Dkt 7-2 ¶¶ 4-7

       Plaintiffs’ declaration establishes irreparable harm from logging under the standard set by

Cottrell, Connaughton, Rittenhouse, and Neighbors of Cuddy Mountain. Once the trees are cut

down, there is no way to put them back on the stump, and the area will never be the same within

the lifetime of Plaintiffs’ members.


                                          VIII. CONCLUSION

       For all of the above-stated reasons, Plaintiffs respectfully request that this Court find that

the Brebner Flat Project violates the law, and either vacate the Project Decision or enjoin

implementation of the Project pending compliance with the law.



Respectfully submitted this 7th Day of June, 2021.


                                               /s/ Rebecca K. Smith
                                               Rebecca K. Smith
                                               PUBLIC INTEREST DEFENSE CENTER, PC
                                               Attorney for Plaintiffs

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                               CERTIFICATE OF COMPLIANCE

The undersigned certifies that the foregoing brief is no more than 35 pages in 12 point font,

excluding the caption, table of contents, table of authorities, index of exhibits, signature blocks,

and certificates of service and compliance, which complies with the 35-page limit set forth in this

Court’s May 14, 2021 Order (Dkt 60).


                                              /s/ Rebecca K. Smith
                                              Rebecca K. Smith
                                              PUBLIC INTEREST DEFENSE CENTER, PC
                                              Attorney for Plaintiffs



                                   CERTIFICATE OF SERVICE


The undersigned certifies that foregoing motion was served today electronically on all parties

through their counsel, Emma Hamilton, Robert Norway, Julie Weis, and Sara Ghafouri, through

this Court’s ECF system.


                                               /s/ Rebecca K. Smith
                                               Rebecca K. Smith
                                               PUBLIC INTEREST DEFENSE CENTER, PC
                                               Attorney for Plaintiffs




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